                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

    LIONRA TECHNOLOGIES LIMITED,                     §
                                                     §
                 Plaintiff,                          §
                                                     §
    v.                                               §         Case No. 2:22-cv-00322-JRG-RSP
.                                                    §
    FORTINET, INC.,                                  §
                                                     §
                 Defendant.                          §

                                                 ORDER

            Before the Court is the Unopposed Motion to Extend Deadline to Answer the Complaint.

    Dkt. No. 15. Defendant Fortinet, Inc. requests a 45-day extension.

            After due consideration, the Court GRANTS the motion. It is therefore ORDERED that the

    deadline for Fortinet to answer or otherwise respond to the Complaint is extended to October 28,

    2022.
            SIGNED this 3rd day of January, 2012.
            SIGNED this 13th day of September, 2022.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE
